                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

DEXTER JOHNSON,                          §
            Petitioner,                  §
                                         §
V.                                       §              No. 4:19-cv-3047
                                         §            (Death Penalty Case)
BOBBY LUMPKIN, Director, 1               §
Texas Department of Criminal             §
Justice, Correctional Institutions       §
Division,                                §
                  Respondent.            §

      RESPONDENT LUMPKIN’S NOTICE OF APPEARANCE OF
                       COUNSEL

      Dexter D. Johnson is a Texas state inmate seeking federal habeas

relief. Please take notice that Gwendolyn S. Vindell, who is admitted to

practice in this Court, is entering an appearance in the above-styled and

numbered cause as co-counsel for Respondent.

                                      Respectfully submitted,

                                      KEN PAXTON
                                      Attorney General of Texas

                                      JEFFREY C. MATEER
                                      First Assistant Attorney General

                                      MARK PENLEY
                                      Deputy Attorney General
                                      for Criminal Justice


1      The previous named respondent in this action was Lorie Davis. On August
10, 2020, Bobby Lumpkin succeeded Davis as Director of the Correctional
Institutions Division. Under Rule 25(d)(1) of the Federal Rules of Civil Procedure,
Lumpkin “is automatically substituted as a party.”
                                   EDWARD L. MARSHALL
                                   Chief, Criminal Appeals Division

                                   s/ Gwendolyn S. Vindell
                                   GWENDOLYN S. VINDELL*
*Counsel of Record                 Assistant Attorney General
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                                   ATTORNEYS FOR RESPONDENT


                       CERTIFICATE OF SERVICE

      I do herby certify that on August 13, 2020, I electronically filed the
foregoing document with the Clerk of the Court for the U.S. District Court,
Southern District of Texas, using the electronic case-filing system of the
Court. The electronic case-filing system sent a “Notice of Electronic Filing”
(NEF) to the following counsel of record, who consented in writing to accept
the NEF as service of this document by electronic means:

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                                      s/ Gwendolyn S. Vindell
                                      GWENDOLYN S. VINDELL
                                      Assistant Attorney General




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